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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


STACIA WATSON,                             )   Case No.: 3:21-cv-175
                                           )
                                           )   Judge Thomas Rose
          Plaintiff,                       )
                                           )   ORDER OF DISMISSAL:
v.                                         )   TERMINATION ENTRY
                                           )
THE BANK OF MISSOURI,                      )
                                           )
          Defendant.                       )
                                           )

         The Court having been advised by counsel for the parties that the above matter

has been settled, IT IS ORDERED that this action is hereby DISMISSED, with

prejudice as to the parties, provided that any of the parties may, upon good cause

shown within 90 days, reopen the action if settlement is not consummated.

         Parties may submit a substitute Judgment Entry once settlement is

consummated. Parties intending to preserve this Court’s jurisdiction to enforce the

settlement should be aware of Kokkonen v. Guardian Life Ins. Co. of America, 114

S.Ct. 1673 (1994), and incorporate appropriate language in any substituted judgment

entry.

         IT IS SO ORDERED.



                                                s/Thomas M. Rose___________
                                                Honorable Thomas M. Rose
                                                United States District Judge
